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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:19−cr−00226
                                                        Honorable Virginia M. Kendall
Robert M. Kowalski, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 7, 2021:


        MINUTE entry before the Honorable Virginia M. Kendall as to Robert Kowalski.
Defendant Robert Kowalksi has moved twice to dismiss his standby counsel for failure to
provide ineffective assistance of counsel (Dkts. [319], [327]). Kowalksi is an attorney and
he vehemently objected to this Court's appointment of standby counsel. Kowalski was
originally detained by this Court and is now on home detention. Although Kowalski wants
to represent himself, he also wants to serve his own subpoenas and have contact with
victims and witnesses in this case. He has already violated this Court's pretrial order
prohibiting him from contacting certain individuals related to this case. The appointment
of Mr. Chiphe as standby counsel allows Kowalksi to provide filings to Mr. Chiphe to file
or to have Mr. Chiphe's office use its investigator to serve subpoenas. Mr. Chiphe is
available to Kowalksi if he has legal or procedural questions. Kowalksi argues: "There is a
strong constitutional right to be represented by counsel of one's own choosing. Mr. Chiphe
and the Federal Defender have proven themselves likely to render legal services beneath
the level the court deems adequate and professional." Kowalksi has a basic
misunderstanding of the role of standby counsel. "'The legal role of standby counsel is
merely to be available in case the court determines that the defendant is no longer able to
represent himself or in case the defendant chooses to consult an attorney.'" U.S. v. Vlahos,
884 F. Supp. 261, 264 (N.D. Ill. 1995) (quoting U.S. v. Windsor, 981 F.2d 943, 947 (7th
Cir. 1992)). The crucial difference between standby counsel and representative counsel is
that the latter "is acting as the attorney for a client and is responsible for all filings,
memoranda and motion practice" while the former "is merely available to the
self−represented individual who chooses to go before the court as his own attorney." U.S.
v. Windsor, 981 F.2d 943, 947 (7th Cir. 1992). Standby counsel does not represent the
defendant. See, e.g., Marrero v. U.S., No. 04 C 0482, 2007 WL 914313, at *6 (N.D. Ill.
Mar. 21, 2007)."[A] defendant who exercises his Sixth Amendment right to represent
himself does not have a right to standby counsel, let alone effective standby counsel." U.S.
v. Bodley, 674 Fed. Appx. 567, 57677 (7th Cir. 2017) (citing Simpson v. Battaglia, 458
F.3d 585, 597 (7th Cir. 2006)). Kowalksi's motions to dismiss standby counsel (Dkts.
[319], [327]) are denied. Mailed notice (lk, )
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